30 F.3d 132
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff Appellee,v.James York SNYDER, Defendant Appellant.
    No. 94-6447.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 23, 1994.Decided July 22, 1994.
    
      Appeal from the United States District Court for the District of South Carolina, at Charleston.  Falcon B. Hawkins, Chief District Judge.  (CR-78-123, CA-93-1003-1AJ, CR-78-49)
      James York Snyder, appellant pro se.
      Mary Gordon Baker, Asst. U.S. Atty., Charleston, SC, for appellee.
      D.S.C.
      AFFIRMED.
      Before MURNAGHAN and WILKINS, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  Appellant's case was referred to a magistrate judge pursuant to 28 U.S.C. Sec. 636(b)(1)(B) (1988).  The magistrate judge recommended that relief be denied and advised Appellant that the failure to file timely objections to this recommendation could waive appellate review of a district court order based upon the recommendation.  Despite this warning, Appellant failed to timely object to the magistrate judge's recommendation.
    
    
      2
      The timely filing of objections to a magistrate judge's recommendation is necessary to preserve appellate review of the substance of that recommendation when the parties have been warned that failure to object will waive appellate review.   See Wright v. Collins, 766 F.2d 841, 845-46 (4th Cir.1985);   United States v. Schronce, 727 F.2d 91, 93-94 (4th Cir.), cert. denied, 467 U.S. 1208 (1984);   see also Thomas v. Arn, 474 U.S. 140 (1985).  Appellant has waived appellate review by failing to file objections after receiving proper notice.  We accordingly affirm the judgment of the district court.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      3
      AFFIRMED.
    
    